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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CARL KLEIN and APRIL RAGLAND,                   )
individually and on behalf of all others        )
similarly situated,                             )
                                                )       Case No. 17-cv-06194
                        Plaintiffs,             )
                                                )       Hon. Joan H. Lefkow
                vs.                             )
                                                )       Magistrate Judge Hon. Maria Valdez
CREDIT CORP SOLUTIONS, INC.,                    )
                                                )
                        Defendant.              )

                                  MOTION TO BAR EVIDENCE

       Plaintiffs, Carl Klein and April Ragland, through their counsel, respectfully requests that

this court enter an order barring defendant, Credit Corp Solutions, Inc. (“Defendant”) from

offering into evidence the “US Credit Report File.” In Support of their motion, Plaintiffs state:

       1.       Plaintiffs filed this lawsuit on August 25, 2017. Plaintiffs filed their first

   Amended Complaint on October 4, 2017.

       2.       On December 26, 2017, Defendant filed a motion for extension of time to file and

   answer.

       3.       On January 2, 2018, Defendant filed its Answer to Plaintiff’s First Amended

   Complaint.

       4.       During discovery, Plaintiff counsel served discovery, requesting documentation

   regarding Defendant’s credit reporting. (See Exhibit A, Plaintiff’s Request For Production of

   Documents).

       5.       Defendant refused to produce documentation regarding its credit reporting on

   Plaintiff’s Account. (Exhibit B, Emails between Plaintiff’s Counsel and Defense Counsel)
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   6.       On October 10, 2018, after discovery had closed Defendant produce a purported

US Credit Report Profile from Experian.

   7.       On October 29, 2018, Defendant filed its Dispositive Motion and attached as

Exhibit F and Exhibit F-1, an Declaration from David Acheatel, the CCS of Chief Operating

Officer and the US Credit Report Profile From Experian. (Dkt. #51-6)

   8.       In his declaration, Mr. Acheatel authenticates the US Credit Report Profile From

Experian.

   9.       Despite Plaintiff’s repeated request for documentation regarding defendant’s

credit reporting, Defendant did not produce its U.S. Credit Profile Report until after

discovery had closed, and Defendant did not produce an affidavit from CCS authenticating

the US Credit Profile Report until it filed its summary judgment motion.

   10.      Plaintiff has been highly prejudiced by Defendant’s failure to produce documents

regarding it credit reporting, as Plaintiff did not have the opportunity to authenticate the US

Credit Report Profile and did not have an opportunity to depose Mr. Acheatel regarding his

declaration or the US Credit Report Profile.

   11.      Mr. Acheatel is not a representative of Experian and cannot lay proper foundation

for the purported Experian Credit Report.

   12.      As a result, defendant should be barred from offering “US Credit Report Profile”

into evidence as well as the declaration of Mr. Acheatel, which are Exhibits F and F-1 to

Defendant’s Motion For Summary Judgment.

WHEREFORE, Plaintiff respectfully request that this Court enter an order barring Defendant

from offering “US Credit Report Profile,” into evidence as well as the Declartion of Mr.

Acheatel.
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                                                        Respectfully submitted,


                                                        By: s/Celetha Chatman
                                                        One of Plaintiff’s Attorneys

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                                CERTIFICATE OF SERVICE

        I, Celetha Chatman, an attorney, hereby certify that on November 1, 2018, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such filing

to all attorneys of record.


Dated: November 1, 2018                                                    Respectfully submitted,


                                                                     By:      /s/ Celetha Chatman


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